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AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the

Southern District of Ohio

 

 

 

United States of America )
Vv. ) <
Rico Deshawn HEAD, Jr. esas Nios #3 4 alice = 224
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 20, 2018 in the county of ____ Franklin in the
Southern District of _ Ohio , the defendant(s) violated:
Code Section Offense Description
18 USC 1951 Hobbs Act violation: Interference with Interstate Commerce by Robbery
18 USC 924(c)(1)(A)(ii) Brandishing a Firearm During a Crime of Violence
18 USC 371 Conspiracy

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet.

 

Complainant's signature

 

ATF Task Force Officer Brian V. Boesch

Printed name and title

Sworn to before me and signed in my presence.

Date: G37A14 — bpA,

Judge 's signature

City and state: _ Columbus, OH ; Magistrate Judge Chelsey M. Vascura

Printed name and title

 
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I, Brian V. Boesch, a Task Force Officer (TFO) with the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF), hereinafter the affiant, being duly sworn, states:

1.

On November 20, 2018, at 2:28pm, two males entered the Lion’s Den store located at
4315 Kimberly Parkway, Columbus, OH. Both suspects had their hoods pulled up and
their faces concealed.

The suspects approached Denise Clayborn, who was working behind the counter, and
demanded money from the cash register. When Ms. Clayborn told them there was no
money in the register, one of the suspects pulled a handgun from his waistband and
demanded the money again.

Ms. Clayborn opened the register and stepped back away from it. The suspect with the
gun demanded Ms. Clayborn hand him the money from the register. She refused. The
suspect then walked around the counter and took the money from the register. Both
suspects then fled in a distinctive green Monte Carlo.

Officers Aaron Williams and Jonathan Thomas quickly responded to the Lion’s Den and
watched the surveillance video. They observed the green Monte Carlo pull up and a
white male get out of the car. The white male let the armed suspect out of the back seat.
The officers took a photo of the car on their cell phones and sent it to other officers that
were working that day.

At approximately 3:30pm, the officers observed the Monte Carlo at Kimberly Parkway
and Canal Bay Way and made an investigatory stop of the car. The male white driver
matched the driver that let the armed suspect out of the back of the car just prior to the
robbery.

CPD Robbery Detective Brett Laird requested the driver, Nicholas Morlen, be
transported to Columbus Police Headquarters for an interview. Mr. Morlen denied he
knew that the two occupants robbed the Lion’s Den, or that they were planning to rob it.
However, Mr. Morlen identified the two suspects as Eric WHATLEY (armed suspect)
and Rico HEAD, Jr. Mr. Morlen provided a written statement.

Detective Bryan Williams created a photo array containing a photo of WHATLEY,
which was presented to Ms. Clayborn. She positively identified WHATLEY as the
suspect with the gun. She did not identify HEAD from a photo array created using
HEAD’s photo.

On January 22, 2019, Detectives Laird and Johnson conducted a custodial interview of
WHATLEY at the Franklin County Jail. WHATLEY denied committing the robbery, but
stated he was with HEAD that day and over at HEAD’s girlfriend’s house.

On January 28, 2019, Detectives Laird and Johnson conducted a custodial interview of
HEAD at the Franklin County Jail. During the interview, HEAD confessed his role in the
robbery and denied possessing or brandishing a firearm during the robbery. He told the
detectives, “I fucked up. Excuse my language. I fucked up. I got caught up in a bad
situation.” Detective Laird mentioned to HEAD that the clerk (Ms. Clayborn) was a
tough-cookie. HEAD responded, “Yeah, she was.”
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10. Lion’s Den was established in 1971 in Columbus, OH. The business sells adult novelty
products, videos, sexual enhancement products and clothing. The items are manufactured
and shipped across the United States and internationally to their store locations. Lion’s
Den currently has over 45 locations across the nation. They accept credit cards as
payment, which is transferred across state lines.

11. Based on the above facts, your affiant respectfully requests an arrest warrant be issued for
Rico D. HEAD, Jr. for violations of the following statutes:

18 U.S.C. § 371 — Conspiracy
18 U.S.C. § 1951 — Hobbs Act - Interference with Interstate Commerce by Robbery
18 U.S.C. § 924(c)(1)(A) — Brandish a Firearm During a Crime of Violence

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Signature of Complainant
Task Force Officer (TFO) Brian V. Boesch

 

Sworn to before me and subscribed in my presence,

Apes L ‘2% 2019, at Columbus, OH

 

Chelsey M. Vascura
United States Magistrate Judge, Southern District of Ohio

 
